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                                                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
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                                                                     FOR THE COUNTY OF LOS ANGELES
                   14

                   15      ALEJANDRA GARCIA, an Individual;        Case No.:
                           CHANCE BROWN, an Individual;
                   16
                           STEPHEN THOMPSON, an Individual;        PLAINTIFF'S COMPLAINT ASSERTING
                   17      ERICK HERRERA, an Individual; KARISSA CAUSES OF ACTION FOR:
                           PEREZ, an Individual; DIANA SALAZAR,
                   18                                              1. VIOLATIONS OF THE BANE CIVIL
                           an Individual; CHRISTOPHER PEARL, an    RIGHTS ACT (Civ. Code § 52.1);
                           Individual; BRANDON GAVIRIA, an
                   19      Individual; AMANDA FLORES, an           2. VIOLATIONS OF THE UNRUH ACT
                           Individual; OSVALDO PEREZ, an           (Civ. Code § 51, et seq.)
                   20
                           Individual; MARK ESCALANTE, an
                                                                   3. 42 U.S.C. § 1983: FIRST AMENDMENT
                   21      Individual; KIMBERLY QUITZON, an
                           Individual; KATHERINE GERBASI, an       4. 42 U.S.C. § 1983: FOURTH
                   22      Individual; BRENDON SMITH, an           AMENDMENT
                           Individual; DANYELLE LEAH SIMS, an
                   23                                              5. 42 U.S.C. § 1983: FIFTH AND
                           Individual; KEVIN JESUS RUIZ, an        FOURTEENTH AMENDMENT
                   24      Individual; ELVER HERNANDEZ, an
                           Individual; PARIS WASHINGTON, an        6. ASSAULT AND BATTERY
                   25      Individual; JACQUELINE WUNG, an
                           Individual; ERIC WILSON, an Individual; 7. FALSE IMPRISONMENT
                   26      AARON WALKER MATIS, an Individual;      8. NEGLIGENCE
                           LACRAMIOARA MUNTEAN, an
                   27                                              9. INTENTIONAL INFLICTION OF
                           Individual; KENT VILLA, an Individual;
                           JASMIN RINCON, an Individual;           EMOTIONAL DISTRESS
                   28
                           ELIZABETH TOOLEY, an Individual;
                                                                                                        1                                          EXHIBIT A                        9
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 1   ARIANA WILLINGHAM, an Individual;            10. VIOLATIONS OF THE RALPH CIVIL
     ALICIA REYNA, an Individual; ARIA            RIGHTS ACT (Civ. Code§ 51.7)
 2   SONORA SILVA-ESPINOSA, an Individual;
     TIMOTHY FULTON, an Individual;
 3
     SAMANTHA DE LEON, an Individual;             **DEMAND FOR JURY TRIAL**
 4   MORGAN FAN GUE, an Individual;
     LESL YE ALANIZ, an Individual;
 5   KATHERINE GRAY, an Individual;
     KATELYNN RHOADS, an Individual;
 6   GRACEEVELYNBOWLAND,an
     Individual; ENRICO MAGHELLI, an
 7
     Individual; DAVID CARMICHAEL, an
 8   Individual; and ALYCIA LOURIM, an
     Individual;
 9
                   Plaintiffs,
10

11
             vs.

12   CITY OF LOS ANGELES, a Public Entity;
     LOS ANGELES POLICE DEPARTMENT,
13   a Public Entity; COUNTY OF LOS
     ANGELES, a Public Entity; LOS ANGELES
14   COUNTY SHERIFF'S DEPARTMENT, a
15   Public Entity; CITY OF SANTA MONICA,
     a public entity; SANTA MONICA POLICE
16   DEPARTMENT, a public entity; CITY OF
     BEVERLY HILLS, a public entity;
17   BEVERLY HILLS POLICE
     DEPARTMENT, a public entity; and DOES
18   1 through 100, inclusive,
19
                   Defendants.
20
21
           COMES NOW, Plaintiffs ALEJANDRA GARCIA, an Individual; CHANCE BROWN, an
22
     Individual; STEPHEN THOMPSON, an Individual; ERICK HERRERA, an Individual; KARISSA
23
     PEREZ, an Individual; DIANA SALAZAR, an Individual; CHRISTOPHER PEARL, an
24
     Individual; BRANDON GAVIRIA, an Individual; AMANDA FLORES, an Individual; OSVALDO
25
     PEREZ, an Individual; MARK ESCALANTE, an Individual; KIMBERLY QUITZON, an
26
     Individual; KATHERINE GERBASI, an Individual; BRENDON SMITH, an Individual;
27
     DANYELLE LEAH SIMS, an Individual; KEVIN JESUS RUIZ, an Individual; ELVER
28

                                                   2                      EXHIBIT A   10
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 1   HERNANDEZ, an Individual; PARIS WASHINGTON, an Individual; JACQUELINE WUNG, an

 2   Individual; ERIC WILSON, an Individual; AARON WALKER MATIS, an Individual;

 3   LACRAMIOARA MUNTEAN, an Individual; KENT VILLA, an Individual; JASMIN RINCON,

 4   an Individual; ELIZABETH TOOLEY, an Individual; ARIANA WILLINGHAM, an Individual;

 5   ALICIA REYNA, an Individual; ARIA SONORA SILVA-ESPINOSA, an Individual; TIMOTHY

 6   FULTON, an Individual; SAMANTHA DE LEON, an Individual; MORGAN FANGUE, an

 7   Individual; LESLYE ALANIZ, an Individual; KATHERINE GRAY, an Individual; KATELYNN

 8   RHOADS, an Individual; GRACE EVELYN BOWLAND, an Individual; ENRICO MAGHELLI,

 9   an Individual; DAVID CARMICHAEL, an Individual; and ALYCIA LOURIM, an Individual

10   (hereinafter collectively referred to as "Plaintiffs"), who complain and allege against the

11   defendants, CITY OF LOS ANGELES, a Public Entity; LOS ANGELES POLICE

12   DEPARTMENT, a Public Entity; COUNTY OF LOS ANGELES, a Public Entity; LOS ANGELES

13   COUNTY SHERIFF'S DEPARTMENT, a Public Entity; CITY OF SANTA MONICA, a public

14   entity; SANTA MONICA POLICE DEPARTMENT, a public entity; CITY OF BEYERL Y HILLS,

15   a public entity; BEYERLY HILLS POLICE DEPARTMENT, a public entity; and each of them,

16   including, DOES 1 through 100, inclusive, (hereafter collectively referred to as "Defendants"), the

17   following:

18                                            INTRODUCTION

19           1.     The path to justice begins with the truth. When the government enacts and enforces

20   an illegal curfew to infringe on an individual's expression of the truth, it creates a tool of

21   oppression to benefit those peddling a false narrative and undermines the foundation of our society.

22          2.      The California State Constitution protects the rights of people to lawfully protest.

23   Section 2 (a) of the California State Constitution states that "Every person may freely speak, write

24   and publish his or her sentiments on all subjects, being responsible for the abuse of this right. A

25   law may not restrain or abridge liberty or speech or press". The First Amendment of the United

26   States Constitution also guarantees free expression of speech and the act of assembly through the

27   Fourteenth Amendment. Article 1, Section 3(a) of the California Constitution plainly states: "The

28   people have the right to instruct their representatives, petition government for redress of grievances,

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 1   and assemble freely to consult for the common good." Cal. Const., Art. 1, § 3(a).

 2          3.      Despite the plain language protection granted through federal and state constitutions

 3   alike, the Defendants City of Los Angeles, County of Los Angeles, City of Santa Monica, City of

 4   Beverly Hills and other municipalities throughout California have taken direct action to silence the

 5   voices of the oppressed. An illegal curfew, violative of, Plaintiffs', without limitation, First,

 6   Fourth, and Fourteenth Amendment rights pursuant to the United States Constitution, as well as the

 7   reciprocal iterations in the California Constitution, has been implemented and weaponized to chill

 8   the calls of government grievance. Its purpose was to create a lasting chilling effect on the lawful

 9   exercise of speech, stopping individuals from participation in peaceful assembly. Under the guise

10   of action to stop looting, mass arrests were made of people committing no crime but speaking truth

11   to power. Executive direction was used against people simply exercising their right to free speech.

12          4.      This action arises out of the protests across the nation following the murder of

13   George Floyd by officers with the Minneapolis Police Department, as well as the many documented

14   cases of police violence against and murder of black and brown people in California and across the

15   Nation. Beginning on or about May 30, 2020, protests erupted all across the United States, with

16   many of the larger demonstrations occurring in the County of Los Angeles. In response to mass

17   protest of police violence, Defendants arrested thousands of individuals simply exercising the right

18   to free speech and peaceful assembly.

19          5.       Defendants, without limitation, kettled demonstrators unleashed batons, rubber-

20   cased bullets, tear gas, flashbang grenades, and sound cannons; detained peaceful protestors; kept

21   protestors tightly handcuffed on buses for hours, without access to bathroom facilities, water or

22   food; drove demonstrators miles from their place of detainment and released them without means of

23   transportation back at a time in further violation of the illegal curfew upon which they were first

24   detained; harassed, humiliated, abused, assaulted, and falsely imprisoned demonstrators, all while

25   weaponizing the COVID-19 virus.

26                                               THE PARTIES

27          6.      Plaintiff ALEJANDRA GARCIA ("Plaintiff Garcia"), is now, and at all times

28   mentioned herein was, a resident of the County of Los Angeles, State of California.

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 1          7.      Plaintiff CHANCE BROWN ("Plaintiff Brown"), is now, and at all times mentioned

 2   herein was, a resident of the County of Los Angeles, State of California.

 3          8.      Plaintiff STEPHEN THOMPSON ("Plaintiff Thompson"), is now, and at all times

 4   mentioned herein was, a resident of the County of Los Angeles, State of California.

 5          9.      Plaintiff ERICK HERRERA ("Plaintiff Herrera"), is now, and at all times mentioned

 6   herein was, a resident of the County of Los Angeles, State of California.

 7          10.     Plaintiff KARISSA PEREZ ("PlaintiffK. Perez"), is now, and at all times mentioned

 8   herein was, a resident of the County of Los Angeles, State of California.

 9          11.     Plaintiff DIANA SALAZAR ("Plaintiff Salazar"), is now, and at all times mentioned

10   herein was, a resident of the County of Los Angeles, State of California.

11          12.     Plaintiff CHRISTOPHER PEARL ("Plaintiff Pearl"), is now, and at all times

12   mentioned herein was, a resident of the County of Los Angeles, State of California.

13          13.     Plaintiff BRANDON GAVIRIA ("Plaintiff Gaviria"), is now, and at all times

14   mentioned herein was, a resident of the County of Los Angeles, State of California.

15          14.     Plaintiff AMANDA FLORES ("Plaintiff Flores"), is now, and at all times mentioned

16   herein was, a resident of the County of Los Angeles, State of California.

17          15.     Plaintiff OSVALDO PEREZ ("Plaintiff 0. Perez"), is now, and at all times

18   mentioned herein was, a resident of the County of Los Angeles, State of California.

19          16.     Plaintiff MARK ESCALANTE ("Plaintiff Escalante"), is now, and at all times

20   mentioned herein was, a resident of the County of Los Angeles, State of California.

21          17.     Plaintiff KIMBERLY QUITZON ("Plaintiff Quitzon"), is now, and at all times

22   mentioned herein was, a resident of the County of Los Angeles, State of California.

23          18.     Plaintiff KATHERINE GERBASI ("Plaintiff Gerbasi"), is now, and at all times

24   mentioned herein was, a resident of the County of Los Angeles, State of California.

25          19.     Plaintiff BRENDON SMITH ("Plaintiff Smith"), is now, and at all times mentioned

26   herein was, a resident of the County of Los Angeles, State of California.

27          20.     Plaintiff DANYELLE LEAH SIMS ("Plaintiff Sims"), is now, and at all times

28   mentioned herein was, a resident of the County of Los Angeles, State of California.

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 1          21.     Plaintiff KEVIN JESUS RUIZ ("Plaintiff Ruiz"), is now, and at all times mentioned

 2   herein was, a resident of the County of Los Angeles, State of California.

 3          22.     Plaintiff EL VER HERNANDEZ ("Plaintiff Hernandez"), is now, and at all times

 4   mentioned herein was, a resident of the County of Los Angeles, State of California.

 5          23.     Plaintiff PARIS WASHINGTON ("Plaintiff Washington"), is now, and at all times

 6   mentioned herein was, a resident of the County of Los Angeles, State of California.

 7          24.     Plaintiff JACQUELINE WUNG ("Plaintiff Wung"), is now, and at all times

 8   mentioned herein was, a resident of the County of Los Angeles, State of California.

 9          25.     Plaintiff ERIC WILSON ("Plaintiff Wilson"), is now, and at all times mentioned

10   herein was, a resident of the County of Los Angeles, State of California.

11          26.     Plaintiff AARON WALKER MATIS ("Plaintiff Matis"), is now, and at all times

12   mentioned herein was, a resident of the County of Los Angeles, State of California.

13          27.     PlaintiffLACRAMIOARA MUNTEAN ("Plaintiff Muntean"), is now, and at all

14   times mentioned herein was, a resident of the County of Los Angeles, State of California.

15          28.     Plaintiff KENT VILLA ("Plaintiff Villa"), is now, and at all times mentioned herein

16   was, a resident of the County of Los Angeles, State of California.

17          29.     Plaintiff JASMIN RINCON ("Plaintiff Rincon"), is now, and at all times mentioned

18   herein was, a resident of the County of Los Angeles, State of California.

19          30.     Plaintiff ELIZABETH TOOLEY ("Plaintiff Tooley"), is now, and at all times

20   mentioned herein was, a resident of the County of Los Angeles, State of California.

21          31.     Plaintiff ARIANA WILLINGHAM ("Plaintiff Willingham"), is now, and at all

22   times mentioned herein was, a resident of the County of Los Angeles, State of California.

23          32.     Plaintiff ALICIA REYNA ("Plaintiff Reyna"), is now, and at all times mentioned

24   herein was, a resident of the County of Los Angeles, State of California.

25          33.     Plaintiff ARIA SONORA SILVA-ESPINOSA ("Plaintiff Silva-Espinosa"), is now,

26   and at all times mentioned herein was, a resident of the County of Los Angeles, State of California.

27          34.     Plaintiff TIMOTHY FULTON ("Plaintiff Fulton"), is now, and at all times

28   mentioned herein was, a resident of the County of Los Angeles, State of California.

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 1          35.     Plaintiff SAMANTHA DE LEON ("Plaintiff De Leon"), is now, and at all times

 2   mentioned herein was, a resident of the County of Los Angeles, State of California.

 3          36.     Plaintiff MORGAN FANGUE ("PlaintiffFangue"), is now, and at all times

 4   mentioned herein was, a resident of the County of Los Angeles, State of California.

 5          37.     Plaintiff LESLYE ALANIZ ("Plaintiff Alaniz"), is now, and at all times mentioned

 6   herein was, a resident of the County of Los Angeles, State of California.

 7          38.     Plaintiff KATHERINE GRAY ("Plaintiff Gray"), is now, and at all times mentioned

 8   herein was, a resident of the County of Los Angeles, State of California.

 9          39.     Plaintiff KATELYNN RHOADS ("Plaintiff Rhoads"), is now, and at all times

10   mentioned herein was, a resident of the County of Los Angeles, State of California.

11          40.     Plaintiff GRACE EVELYN BOWLAND ("Plaintiff Bowland"), is now, and at all

12   times mentioned herein was, a resident of the County of Los Angeles, State of California.

13          41.     Plaintiff ENRICO MAGHELLI ("Plaintiff Maghelli"), is now, and at all times

14   mentioned herein was, a resident of the County of Los Angeles, State of California.

15          42.     Plaintiff DAVID CARMICHAEL ("Plaintiff Carmichael"), is now, and at all times

16   mentioned herein was, a resident of the County of Los Angeles, State of California.

17          43.     Plaintiff ALYCIA LOURIM ("PlaintiffLourim"), is now, and at all times mentioned

18   herein was, a resident of the County of Los Angeles, State of California.

19          44.     Defendant, CITY OF LOS ANGELES, is and was at all relevant times a public

20   entity as defined under Government Code § 811.2, and is organized, recognized, and existing under,

21   and by virtue of, the laws of the State of California.

22          45.     Defendant, LOS ANGELES POLICE DEPARTMENT ("LAPD"), is and was at all

23   relevant times a public entity as defined under Government Code § 811.2, and is organized,

24   recognized, and existing under, and by virtue of, the laws of the State of California, and operating

25   under the direction and authority of Defendant CITY OF LOS ANGELES.

26          46.     Defendant, COUNTY OF LOS ANGELES, is and was at all relevant times a public

27   entity as defined under Government Code § 811.2, and is organized, recognized, and existing under,

28   and by virtue of, the laws of the State of California.

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 1          47.     Defendant, LOS ANGELES COUNTY SHERIFF'S DEPARTMENT ("LA

 2   SHERIFF"), is and was at all relevant times a public entity as defined under Government Code §

 3   811.2, and is organized, recognized, and existing under, and by virtue of, the laws of the State of

 4   California, and operating under the direction and authority of Defendant COUNTY OF LOS

 5   ANGELES.

 6          48.     Defendant, CITY OF SANTA MONICA, is and was at all relevant times a public

 7   entity as defined under Government Code § 811.2, and is organized, recognized, and existing under,

 8   and by virtue of, the laws of the State of California.

 9          49.     Defendant, SANTA MONICA POLICE DEPARTMENT ("SMPD"), is and was at

10   all relevant times a public entity as defined under Government Code § 811.2, and is organized,

11   recognized, and existing under, and by virtue of, the laws of the State of California, and operating

12   under the direction and authority of Defendant CITY OF SANTA MONICA.

13          50.     Defendant, CITY OF BEYERLY HILLS, is and was at all relevant times a public

14   entity as defined under Government Code § 811.2, and is organized, recognized, and existing under,

15   and by virtue of, the laws of the State of California.

16          51.     Defendant, BEYERL Y HILLS POLICE DEPARTMENT ("BHPD"), is and was at

17   all relevant times a public entity as defined under Government Code § 811.2, and is organized,

18   recognized, and existing under, and by virtue of, the laws of the State of California, and operating

19   under the direction and authority of Defendant CITY OF BEYERL Y HILLS.

20          52.     The true names and/or capacities, whether individual, corporate, associate, or

21   otherwise, of the defendants DOES 1 through 100, inclusive, and each of them, are unknown to

22   Plaintiffs, who therefore sue said defendants by such fictitious names. Plaintiffs are informed and

23   believe and thereon allege that each of these defendants fictitiously named herein as a DOE is

24   legally responsible, negligent, or in some other actionable manner, liable for the events and

25   happenings hereinafter alleged, and proximately and legally caused injuries and damages to

26   Plaintiffs herein alleged. Plaintiffs will seek leave of court to amend this Complaint to insert the

27   true names and/or capacities of such fictitiously named defendants when the same have been

28   ascertained.

                                                           8                         EXHIBIT A              16
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 1          53.     Plaintiffs are informed and believe and thereon allege that at all times mentioned

 2   herein, the defendants, and each of them, including DOES 1 through 100, were the agents, servants,

 3   employees, and/or joint venturers of their co-defendants, and were acting within the course, scope,

 4   and authority of said agency, employment, and/or venture. At all times Defendants were acting

 5   under color of state law.

 6          54.     Plaintiffs are informed, believe, and thereupon allege that the practices, policies, and

 7   customs of Defendants CITY OF LOS ANGELES, LAPD, COUNTY OF LOS ANGELES, LA

 8   SHERIFF, CITY OF SANTA MONICA, SMPD, CITY OF BEYERLY HILLS, BHPD, and DOES

 9   1 through 100, inclusive, caused the unlawful action taken against Plaintiffs

10          55.     Within the time provided by law, Plaintiffs each filed a claim with Defendants CITY

11   OF LOS ANGELES, COUNTY OF LOS ANGELES, CITY OF SANTA MONICA, and CITY OF

12   BEYERL Y HILLS, respective of their individual damages, in full compliance with California

13   Government Code§ 910, et seq. and the specific requirements of Defendants CITY OF LOS

14   ANGELES, COUNTY OF LOS ANGELES, CITY OF SANTA MONICA, and CITY OF

15   BEYERL Y HILLS. Plaintiffs received either received rejections or no response to their respective

16   claims, and as such, each claim has been deemed rejected by operation of law pursuant to

17   California Government Code§ 912.4. This Complaint is brought in timely response to the explicit

18   and/or implicit rejections of Plaintiffs claims against Defendants.

19                                     JURISDICTION AND VENUE

20          56.     This Court has jurisdiction because the alleged acts and omissions giving rise to the

21   allegations contained herein occurred in the State of California, County of Los Angeles and the

22   Defendants either live in or conduct business in the State of California, County of Los Angeles.

23          57.     Venue is proper in this county in accordance with California Code of Civil

24   Procedure§§ 395(a) and 395.5 because the obligation or liability arose in this county and breaches

25   occurred in this county.

26                                      GENERAL ALLEGATIONS

27          58.     On May 25, 2020, Minneapolis Police Officer Derek Chauvin murdered George

28   Floyd, suspected of forgery for attempting to use a purported counterfeit $20 bill. Officer Chauvin,

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 1   along with two other officers, held Mr. Floyd on the ground, handcuffed behind his back, and

 2   ignored pleas to get off his neck, back and legs and let him breathe. Mr. Floyd died in the

 3   Minneapolis street after approximately 7 minutes and 46 seconds of Officer Chauvin holding a knee

 4   to his neck and stating more than 20 times that he could not breathe.

 5             59.   The death of George Floyd ignited protests across the United States and world, with

 6   tens of thousands of demonstrators participating in awful and peaceful protests in, among others,

 7   the City of Los Angeles, the City of Santa Monica, the City of Beverly Hills. Defendants

 8   responded to all demonstrators who came out to express their opposition to a police state to the very

 9   police state they came to protest, with expansive curfews and arrests for failing to comply with the

10   curfews, failing to disperse, unlawful assembly, failure to follow a "lawful" order of an officer and

11   similar misdemeanors undercutting the right to engage in protected expressive activity in public

12   spaces.

13             60.   California Penal Code§ 409, defining an unlawful assembly, has repeatedly been

14   construed to require a showing of imminent violence that so permeates a lawful expressive activity

15   that law enforcement may curtail the rights of all. Those facts did not exist in this instance. Instead,

16   Defendants applied a ham-handed approach, silencing everyone.

17             61.   On or about May 30, 2020, and lasting through, without limitation, June 12, 2020,

18   the Defendants implemented and enforced an illegal curfew, facially infringing upon the State and

19   Federal constitutional rights of lawful protestors, including, without limitation, Plaintiffs First,

20   Fourth, and Fourteenth Amendment rights. This curfew was used to trap protestors and enact

21   sweeping arrests.

22             62.   Defendants CITY OF LOS ANGELES, COUNTY OF LOS ANGELES, CITY OF

23   SANTA MONICA, and CITY OF BEYERL Y HILLS, working together with Defendants LAPD,

24   LA SHERIFF, SMPD, and BHPD respectively, dressed for the chaos they created, performed

25   "kettling" tactics, wherein demonstrators attempting to disperse prior to the curfew's enforcement

26   were directed down winding paths and corralled into an inescapable crowd. Boxed-in by officers

27   clad in riot gear and wielding, without limitation, batons, rubber-cased bullets, tear gas, flashbang

28   grenades, and sound cannons, peaceful protestors were attacked, mobbed, and unlawfully detained

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 1   and arrested. The Defendants worked in concert for the correlated suppression of truthful speech.

 2           63.     After being thrust into a police-powered chaos, Plaintiffs were, without limitation,

 3   detained and questioned without a reading of their Miranda Rights, forced to the ground, and bound

 4   with zip-ties. Plaintiffs were bound for a minimum of several hours, with some held for more than

 5   12 hours in intolerable and painful conditions. The zip-ties were intentionally tightened behind

 6   Plaintiffs' backs, causing limbs to go numb, turn blue, and triggering swelling and bruising. In

 7   some cases, significant nerve damage has been noted. Plaintiffs repeatedly made calls to the

 8   officers involved to loosen their bindings but were met with hostility and refusal.

 9           64.     Plaintiffs were rounded up, separated by perceived gender, placed on buses, and

10   driven from their place of arrest to undisclosed locations. Upon information and belief, some of the

11   buses used had been commandeered from The Los Angeles County Metropolitan Transportation

12   Authority and similar entities. Despite questions from Plaintiffs of where they were being taken, no

13   information was ever provided.

14           65.     Some of Defendants' transport buses carried Plaintiffs to police stations around the

15   Cities of Los Angeles, Santa Monica and Beverly Hills for processing. Additionally, some of

16   Defendants' transport buses unwittingly carried Plaintiffs to the Los Angeles National Cemetery.

17   This location was used to harass, intimidate, and cause the intentional infliction of emotional

18   distress to those arrested for peacefully protesting the systemic mistreatment of people of color.

19           66.     Plaintiffs were held on their transport buses for excessive periods of time. With

20   arrests beginning as early as 6:00 p.m., many of the detained were not released until at or about

21   3:00 the following morning. Having been driven distances in excess of twenty miles from the place

22   of arrest, Plaintiffs were left in unfamiliar areas without transportation during an active curfew. As

23   such, Defendants were exposing Plaintiffs to further arrest for violation of the curfew that had them

24   illegally arrested and transported in the first place.

25           67.     Over the course of their detention, Plaintiffs were routinely denied food, water,

26   access to bathrooms, and in some cases access to lawyers, despite repeated request. Plaintiffs were

27   forced to urinate on themselves after hours of unlawful detainment, causing severe emotional

28   distress and humiliation.

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 1          68.     Defendants instituted systematic efforts of torture and ridicule throughout Plaintiffs'

 2   detention. This includes, without limitation, verbal abuse, sexual harassment and assault, use of

 3   excessive force, false imprisonment, and acts of harassment, such as playing copyrighted materials

 4   such as "Africa" by Toto, "LA Is Burning" by Bad Religion to interfere with Plaintiffs' ability to

 5   publicly post videos of their unlawful treatment. Defendants further manipulated the temperature,

 6   deprived many Plaintiffs access to bathroom facilities, and deprived many Plaintiffs of water to

 7   create heightened levels of distress.

 8          69.     Additionally, many Plaintiffs were intentionally left in close quarters with officers

 9   not wearing masks. Social distancing and sanitation guidelines were ignored. Bound behind their

10   backs with zip-ties, Plaintiffs were unable to adjust their fallen masks despite making clear effort to

11   limit their exposure to the COVID-19 virus. As such, Defendants weaponized the COVID-19 virus

12   as punishment for the expression of truthful speech.

13          70.     Defendants have been vested with the mandatory duties stated herein. Instead,

14   Defendants weaponized their authority and violated their mandatory and statutory duty. Pursuant

15   to, without limitation, Government Code§§ 815.2 and 815.6, these public entities are liable injuries

16   they proximately caused to claimants.

17          71.     The blanket decision of Defendants to deny Plaintiffs' liberty and detain them

18   without justification for prolonged times violates, without limitation, the First, Fourth, Fifth and

19   Fourteenth Amendment rights of Plaintiffs, and was done with the specific and deliberate intent to

20   interfere with the exercise of Plaintiffs' rights to assembly and due process. Additionally, the

21   blanket restriction on all movement during those hours violates the Constitution's protection for

22   freedom of movement. And, as written and implemented, the curfews fail to provide

23   constitutionally sufficient notice

24          72.     Defendants had ready alternatives to the prolonged detention of Plaintiffs in tight

25   zip-ties, without access to bathrooms, food or water. In the Ferguson protests in 2014, protesting the

26   wrongful death of Michael Brown, the LAPD detained a group of approximately 40-50 protestors at

27   Beverly and Alvarado, kettled them, handcuffed them with twist-ties, brought in computers and

28   video recording equipment, collected the same information as would be done in a booking, then

                                                           12                        EXHIBIT A              20
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 1   released them with orders to disperse and advised the detainees that they would be taken to jail and

 2   held if they were found again that night in violation of the dispersal order. In all, people were

 3   handcuffed no longer than approximately one hour. No one suffered injury as a result of the

 4   prolonged tight handcuffing and. significantly. no one was a repeat offender that night or any other

 5   night as the demonstrations continued. The officers patted down the demonstrators' clothing and

 6   searched their personal belongings, including backpacks, as they would do if they were taking them

 7   into custody for booking. LAPD officers ran wants and warrants on each detainee in the field, as

 8   they do for any traffic stop and as they routinely do with unhoused individuals in the city.

 9          73.     Penal Code§ 853.6 imposes a mandatory requirement to release misdemeanor

10   violators on their own recognizance in the field or immediately after booking unless individualized

11   probable cause exists to believe that one or more exceptions to the statute exists as a basis to deny

12   release. In this instance, there was no reason why Defendants could not process individuals in the

13   field and release them without the prolonged handcuffing. Both§ 853.6 by statute and the First

14   Amendment by constitutional principle require individualized suspicion before fundamental rights

15   may be denied. There was no reasonable basis to believe that each and every one of the Plaintiffs

16   would engage in a similar purported misdemeanor violation if they had been cited and released in

17   the field. Defendants had the capacity to process arrestees in the field. Plaintiffs were denied the

18   individualized assessment of criminal liability that is the hallmark of due process and each had their

19   liberty unlawfully restricted as a result of a deliberate decision by Defendants to ignore the explicit

20   command of Penal Code§ 853.6.

21          74.     The first curfew orders were issued on or about May 30, 2020 at 6:30pm, prohibiting

22   any person from leaving their homes and navigating the public streets and all public areas within

23   the city limits of Los Angeles from 8pm to 5:30am. Similar orders were instated in the City of

24   Santa Monica and the City of Beverly Hills. The orders contained a few narrow exceptions, such as

25   for travel to work, travel by certain officials (including law enforcement), and for medical care.

26   However, it did not exempt a broad swath of entirely innocuous activity, including grocery

27   shopping, caring for relatives, and recreational jogging, bike-riding, or dog-walking. It also

28   included no exception for lawful protest, individual free speech and/or members of the press. A

                                                           13                        EXHIBIT A              21
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 1   second curfew order was issued on May 31, 2020 at 12:00pm, prohibiting any person from leaving

 2   their homes and navigating the public streets from 8:00pm to 5:30am. It included an exception for

 3   credentialed media but no other additional material exemptions. On June 1, 2020, another curfew

 4   order was announced at around 12pm, restricting people from leaving their homes from 6pm to

 5   6am. On June 2, 2020, another curfew order was issued at around 1pm, prohibiting persons from

 6   leaving their homes from 6pm to 6am. And on June 3, 2020, a fifth curfew order was issued at

 7   around 1pm, prohibiting people from leaving their homes from 9pm to 5am.

 8          75.     Defendant County of Los Angeles issued a separate curfew order, signed by County

 9   Supervisor Barger on May 31, 2020. The order prohibited any person from leaving their home and

10   navigating the public streets within the entire unincorporated and incorporated areas of Los Angeles

11   County from 6pm to 6am. It too contained only the narrowest of exemptions, including no lawful

12   protest, individual free speech and/or press exemption. On June 1 and June 2, 2020 similar curfew

13   orders were issued prohibiting any persons from leaving their homes from 6pm to 6am. These

14   added an exemption for credentialed press, but again no others. And on June 3, 2020, at around

15   1pm a countywide curfew was issued to go into effect from 9pm to 5am.

16          76.     Law enforcement officials throughout the County of Los Angeles vigorously

17   enforced the curfews, arresting hundreds of people lawfully and peacefully protesting, as well as

18   simply existing outside not demonstrating. According to the Los Angeles Chief of Police, LAPD

19   officers alone arrested more than 2,700 individuals over a span of four days (May 29 to June 2).

20   2,500 of these arrests (92%) were for curfew violations. It is therefore clear that the overwhelming

21   majority of the arrests that law enforcement officials made were completely unrelated to any act of

22   property damage or violence.

23          77.     On February 9, 2021, VICE News first reported that the Beverly Hills Police

24   Department had been filmed playing copyrighted music when individuals attempted to record their

25   encounters with law enforcement in an effort to trigger Instagram and related social media platform

26   copyright filters. See https://www.vice.com/en/article/bvxb94/is-this-beverly-hills-cop-playing-

27   sublimes-santeria-to-avoid-being-livestreamed; See also

28   https://www.vice.com/en/article/bvxa7q/new-video-shows-beverly-hills-cops-playing-beatles-to-

                                                          14                       EXHIBIT A             22
                                             PLAINTIFFS' COMPLAINT FOR DAMAGES
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 1   trigger-instagram-copyright-filter. It has been reported that this effort by Defendant BHPD to

 2   trigger copyright filters has been used to ensure that individuals can neither live stream nor post

 3   their law enforcement interactions, making all incident details reliant on the related police report or

 4   bodycam footage, if the officer's bodycam had been recording as is required. Additionally, officers

 5   are able to submit claims directly to Instagram and related social media platforms claiming

 6   copyright infringement if their initial efforts for algorithmic deletion don't pan out.

 7             78.   Upon information and belief, as stated herein, Defendants, and each of them, played

 8   songs including, without limitation, "Africa" by Toto and "LA Is Burning" by Bad Religion over

 9   the transport bus sound systems in an effort to trigger copyright filters on Instagram and related

10   social media platforms. Despite binding Plaintiffs' hands behind their backs, Defendants exercised

11   this additional effort to ensure that no Plaintiff was able to successfully record and/or live-stream

12   their multi-hour detention.

13             79.   Plaintiffs are informed and believe and thereon allege that the officers of Defendants

14   LAPD, LA Sheriff, SMPD, and BHPD acted in accordance with orders given by supervisors from

15   the highest command positions, in accordance with policies and procedures instituted by the LAPD,

16   LA Sheriff, SMPD, BHPD, City of Los Angeles, County of Los Angeles, City of Santa Monica and

17   City of Beverly Hills.

18             80.   Moreover, on or about June 12, 2020, Plaintiff Garcia acted as a medic at a peaceful

19   protest within the City of Beverly Hills. BHPD officers identified her as a medic, evidenced by

20   physical signifiers and a medical bag on Plaintiff Garcia's person, and specifically targeted her with

21   acts of excessive force to limit her ability to treat injured protestors. BHPD officers proceeded to

22   shoot Plaintiff Garcia at minimum two times with rubber-cased bullets, threw tear gas canisters

23   within a dangerous proximity, and kept Plaintiff Garcia and other Plaintiffs kettled within a small

24   public area while utilizing a Long Range Acoustic Device. BHPD Officers then attempted to follow

25   Plaintiff Garcia to her home, outside the Beverly Hills jurisdiction, in an effort to intimidate and

26   harass.

27             81.   On or about June 26, 2020, Plaintiff Garcia was further subjected to excessive force,

28   wherein officers of the Defendant BHPD brutally beat, gassed, and again targeted her with a Long

                                                           15                         EXHIBIT A              23
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 1   Range Acoustic Device while peacefully protesting. Defendant BHPD justified the force in

 2   response to violations of an illegal curfew designed to suppress Plaintiff Garcia's free speech.

 3   Plaintiff Garcia was then wrongfully detained alone in a cell for an excessive 26 hours, without ever

 4   receiving food or water. Defendant BHPD officers were emotionally abusive, utilizing slurs and

 5   fabricating reasons as to why Plaintiff Garcia was being held in far excess of other detained

 6   protestors. Plaintiff Garcia was subjected to a custodial interrogation without being read her

 7   Miranda rights and was denied counsel after explicit request.

 8          82.     Similar to physical injuries sustained by all Plaintiffs as a result of Defendants'

 9   excessive force, Plaintiff Garcia received physical injuries to her person as a result of the multiple

10   rubber-cased bullets discharged against her, breathing difficulty as a result of the tear gassed

11   unreasonably unleashed, eye sight difficulty as a result of the same, and significant emotional

12   distress and anxiety as a result of the targeted attacks, intimidation, and harassment of Defendant

13   BHPD officers. Moreover, Plaintiff Garcia's shoulder was popped/dislocated as a result of being

14   dragged by Defendant BHPD officers. Plaintiff Garcia was further subjected to emotional torture

15   when, without limitation, she was lied to about why she was being held, told she was left and

16   forgotten by other detainees and Plaintiffs, never given a phone call until more than 26 hours

17   following onset of detainment, isolated in solitary confinement for the entire 26 hour period, not

18   provided food or water, and subjected to an illegal interrogation.

19          83.     Other Plaintiffs sustained severe and lasting physical injuries and emotional distress

20   as a result of Defendants' excessive force, use of rubber-case bullets, bean bag projectiles, batons,

21   tear gas, sound cannons and other long range acoustic devices. Defendants loaded guns in front of

22   Plaintiffs, cocked them in an effort to intimidate and harass, and aimed at Plaintiffs in close range.

23   Plaintiffs had no way of knowing whether the weapons loaded and aimed by Defendants had been

24   loaded with "non-lethal" ammunition. Rather, while protesting the police murder of an

25   unarmed person, these unarmed Plaintiffs were forced to reckon with excessive force and the

26   fear of imminent death and/or unlawful incarceration at the hands of law enforcement.

27          84.     As a direct and proximate cause of the conduct described herein, Plaintiffs have been

28   denied their constitutional statutory, and legal rights as stated herein, and have suffered general and

                                                           16                        EXHIBIT A             24
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 1   special damages, including but not limited to, mental and emotional distress, physical injuries and

 2   bodily harm, pain, fear, humiliation, embarrassment, discomfort, and anxiety and other damages in

 3   an amount according to proof.

 4           85.     Defendants' acts were willful, wanton, malicious, and oppressive, and done with

 5   conscious or reckless disregard for, and deliberate indifference to, Plaintiffs' rights.

 6   All of the following claims for relief are asserted against all Defendants.

 7            FIRST CAUSE OF ACTION FOR VIOLATIONS OF THE BANE CIVIL RIGHTS

 8                                           ACT (Civ. Code § 52.1)

 9              (By All Plaintiffs Against All Defendants, Including DOES 1 Through 100)

10           86.     Plaintiffs incorporate by this reference each and every allegation contained in the

11   foregoing paragraphs as though fully set forth herein.

12           87.     At all times mentioned herein above, Plaintiffs were the subject of harassment,

13   discrimination, threats of violence, intimidation by threat of violence, and violence itself by

14   Defendants LAPD, LA Sheriff, SMPD, and BHPD, individually and as agents and/or employees of

15   Defendants CITY OF LOS ANGELES, COUNTY OF LOS ANGELES, CITY OF SANTA

16   MONICA, AND CITY OF BEYERL Y HILLS, due to Plaintiffs' exercise of their constitutionally

17   protected activities of free speech and assembly together with Plaintiffs' actual and/or perceived

18   sex, gender, race, color, religion, national origin, political affiliation, and/or ancestry.

19           88.     Based on information and belief, Defendants utilized slurs to Plaintiffs, including,

20   without limitation, "Bitch," "Slut," "Spicy," "Faggot," and other derogatory terms used with the

21   intention to harass and discriminate on the basis of Plaintiffs' actual and/or perceived sex, gender,

22   race, color, religion, national origin, political affiliation, and/or ancestry.

23           89.     Based on information and belief, Defendants unleashed acts of excessive force

24   including the use of rubber-case bullets, bean bag projectiles, batons, tear gas, sound cannons and

25   other long range acoustic devices against Plaintiffs, in an effort to threaten and effect violence

26   against Plaintiffs on the basis of Plaintiffs' actual and/or perceived sex, gender, race, color, religion,

27   national origin, political affiliation, and/or ancestry.

28           90.     Defendants and each of their actions were in violation of, without limitation,

                                                             17                         EXHIBIT A           25
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 1   Plaintiffs' First and Fourteenth Amendment rights; as well as California Civil Code§§ 43, 51 et

 2   seq., and 51.7; California Penal Code§§ 240,241,242,243,422.6, 422.7, 422.8, 1170.75; as well

 3   as the California Constitution; and common law interpreting the California Constitution and the

 4   statutes enacted by the State of California.

 5           91.    The aforementioned acts constitute a violation of the Unruh Civil Rights Act, Civil

 6   Code§ 51 et seq. and the Bane Civil Rights Act, Civil Code§ 52.1, as well as the California

 7   Constitution and various other state legislative enactments.

 8           92.    As a result of Defendants, and each of their wrongful and illegal conduct as alleged

 9   herein, Plaintiffs are entitled to reasonable attorneys' fees and costs of said suit and a civil penalty

10   of $25,000.00 as provided in Cal. Civil Code § 52.

11           93.    AS a result of Defendants' wrongful and illegal conduct as alleged herein, Plaintiffs

12   are also entitled to three times their actual damages, which in no case shall be less than $4,000.00.

13           94.    At all relevant times, DOES 1 through 100, as well as officers of Defendants LAPD,

14   LA Sheriff, SMPD, and BHPD, were acting within the course and scope of his employment and/or

15   agency with Defendants CITY OF LOS ANGELES, COUNTY OF LOS ANGELES, CITY OF

16   SANTA MONICA, AND CITY OF BEYERLY HILLS. Defendant officers remained uniformed as

17   and used their actual and/or apparent authority during the time Plaintiffs were subject of

18   harassment, discrimination, threats of violence, intimidation by threat of violence, and violence

19   itself by Defendants based on Plaintiffs' actual and/or perceived sex, gender, race, color, religion,

20   national origin, political affiliation, and/or ancestry. Moreover, the weapons used by Defendants'

21   officers to injure Plaintiffs and to deprive them unlawfully and unreasonably of their freedom of

22   movement were used by Defendants and provided to them as law enforcement officers for all

23   Defendants.

24           95.    Moreover, Defendants LAPD, LA Sheriff, SMPD, BHPD, CITY OF LOS

25   ANGELES, COUNTY OF LOS ANGELES, CITY OF SANTA MONICA, AND CITY OF

26   BEYERL Y HILLS aided and/or incited the individual Defendant officers in making Plaintiffs the

27   subject of harassment, discrimination, threats of violence, intimidation by threat of violence itself

28   by Defendants by, without limitation, willfully and knowingly hiring the Defendant officers as law

                                                           18                          EXHIBIT A           26
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 1   enforcement and providing them with weapons and/or the opportunity to use their weapons within

 2   the course and scope of their employment despite knowing that many Defendant officers harbored

 3   violent animus against people with differing political ideologies, as well as differing sex, gender,

 4   race, color, religion, national origin, and/or ancestry from their own.

 5          96.     As a direct, proximate, and legal cause of the wrongful conduct of Defendants, and

 6   each of them, including DOES 1 through 100, inclusive, Plaintiffs suffered foreseeable, past and

 7   future, physical and emotional injuries, general, special and incidental damages in an amount

 8   according to proof by in excess of the jurisdictional limit of this case.

 9          97.     As a direct, proximate, and legal cause of the wrongful conduct of Defendants, and

10   each of them, including DOES 1 through 100, inclusive, as alleged herein, Plaintiffs have been

11   required to and did employ physicians, surgeons, and other medical personnel to treat and care for

12   injuries sustained as a result of Defendants' conduct, and incurred additional medical expenses for

13   hospital bills and other incidental medical expenses. Said damages are in a sum the exact amounts

14   of which are not yet known to Plaintiffs, but which amounts will be proved at the time of trial.

15          98.     As a further direct and proximate result of the acts and omissions of Defendants, and

16 each of them, including DOES 1 through 100, inclusive, as alleged herein, Plaintiffs have suffered

17 and will continue to suffer lost future earnings and income, and/or a diminution of her future earning

18 capacity. Said damages are in a sum the exact amounts of which are not yet known to Plaintiff, but

19 which amounts will be proved at the time of trial.

20           SECOND CAUSE OF ACTION FOR VIOLATIONS OF THE UNRUH ACT

21                                          (Civ. Code§ 51, et seq.)

22              (By All Plaintiffs Against All Defendants, Including DOES 1 Through 100)

23          99.     Plaintiffs incorporate by this reference each and every allegation contained in the

24   foregoing paragraphs as though fully set forth herein.

25           100.   At all times mentioned herein above, Defendants, individually and as agents and/or

26   employees of Defendants, discriminated against Plaintiffs and denied full and equal advantages,

27   facilities, and/or privileges to, without limitation, use the public sidewalks and public streets

28   because of their political ideologies and/or because of their actual and/or perceived sex, gender,

                                                           19                         EXHIBIT A             27
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 1   race, color, religion, national origin, political affiliation, and/or ancestry.

 2           101.    Defendants subjected Plaintiffs to discrimination based on their political ideologies

 3   and/or because of their actual and/or perceived sex, gender, race, color, religion, national origin,

 4   political affiliation, and/or ancestry, and denied full and equal advantages, facilities, and/or

 5   privileges to, without limitation, use the public sidewalks and public streets because Defendants

 6   perceived Plaintiffs as standing in opposition to law enforcement and associated their actual and/or

 7   perceived sex, gender, race, color, religion, national origin, political affiliation, and/or ancestry as a

 8   threat to the existence of their self-claimed "blue lives."

 9           102.    The aforementioned acts constitute a violation of the Unruh Civil Rights Act, Civil

10   Code§ 51 et seq. and the Bane Civil Rights Act, Civil Code§ 52.1, as well as the California

11   Constitution and various other state legislative enactments.

12           103.    At all relevant times, DOES 1 through 100, as well as officers of Defendants LAPD,

13   LA Sheriff, SMPD, and BHPD, were acting within the course and scope of his employment and/or

14   agency with Defendants CITY OF LOS ANGELES, COUNTY OF LOS ANGELES, CITY OF

15   SANTA MONICA, AND CITY OF BEYERLY HILLS. Defendant officers remained uniformed as

16   and used their actual and/or apparent authority during the time Plaintiffs were discriminated against

17   and denied full and equal access to, without limitation, the public sidewalk and public streets.

18   Moreover, the weapons used by Defendants' officers to injure Plaintiffs and to deprive them

19   unlawfully and unreasonably of their freedom of movement were used by Defendants and provided

20   to them as law enforcement officers for all Defendants.

21           104.    Moreover, Defendants LAPD, LA Sheriff, SMPD, BHPD, CITY OF LOS

22   ANGELES, COUNTY OF LOS ANGELES, CITY OF SANTA MONICA, AND CITY OF

23   BEYERL Y HILLS aided and/or incited the individual Defendant officers in their discrimination

24   against Plaintiffs and in the denial of full and equal advantages, facilities, and privileges of

25   Plaintiffs by, without limitation, willfully and knowingly hiring the Defendant officers as law

26   enforcement and providing them with weapons and/or the opportunity to use their weapons within

27   the course and scope of their employment despite knowing that many Defendant officers harbored

28   violent animus against people with differing political ideologies, as well as differing sex, gender,

                                                            20                         EXHIBIT A            28
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 1   race, color, religion, national origin, and/or ancestry from their own.

 2           105.   As a direct, proximate, and legal cause of the wrongful conduct of Defendants, and

 3   each of them, including DOES 1 through 100, inclusive, Plaintiffs suffered foreseeable, past and

 4   future, physical and emotional injuries, general, special and incidental damages in an amount

 5   according to proof by in excess of the jurisdictional limit of this case.

 6           106.   As a direct, proximate, and legal cause of the wrongful conduct of Defendants, and

 7   each of them, including DOES 1 through 100, inclusive, as alleged herein, Plaintiffs have been

 8   required to and did employ physicians, surgeons, and other medical personnel to treat and care for

 9   injuries sustained as a result of Defendants' conduct, and incurred additional medical expenses for

10   hospital bills and other incidental medical expenses. Said damages are in a sum the exact amounts

11   of which are not yet known to Plaintiffs, but which amounts will be proved at the time of trial.

12           107.   As a further direct and proximate result of the acts and omissions of Defendants, and

13 each of them, including DOES 1 through 100, inclusive, as alleged herein, Plaintiffs have suffered

14 and will continue to suffer lost future earnings and income, and/or a diminution of her future earning

15 capacity. Said damages are in a sum the exact amounts of which are not yet known to Plaintiff, but

16 which amounts will be proved at the time of trial.

17           108.   As a result of Defendants, and each of their wrongful and illegal conduct as alleged

18   herein, Plaintiffs are entitled to reasonable attorneys' fees and costs of said suit and a civil penalty

19   of $25,000.00 as provided in Cal. Civil Code§ 52.

20           109.   Furthermore, a result of Defendants, and each of their wrongful and illegal conduct

21   as alleged herein, Plaintiffs are entitled to a civil penalty and exemplary damages as provided in

22   Cal. Civil Code § 52.

23           THIRD CAUSE OF ACTION FOR VIOLATION OF 42 U.S.C. § 1983: FIRST

24                                               AMENDMENT

25              (By All Plaintiffs Against All Defendants, Including DOES 1 Through 100)

26           110.   Plaintiffs incorporate by this reference each and every allegation contained in the

27   foregoing paragraphs as though fully set forth herein.

28           111.   Defendants' curfews violate the First Amendment's prohibition on laws restricting

                                                          21                           EXHIBIT A           29
                                              PLAINTIFFS' COMPLAINT FOR DAMAGES
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 1   speech. The "principal function of free speech under our system of government is to invite dispute.

 2   It may indeed best serve its high purpose when it induces a condition of unrest, creates

 3   dissatisfaction with conditions as they are, or even stirs people to anger." Texas v. Johnson, 491

 4   U.S. 397, 408---09 (1989) (citation and quotation marks omitted). Defendants' curfews dramatically

 5   restricted free speech by entirely suppressing all demonstrations occurring after a set time.

 6          112.    The First Amendment generally requires the state to punish those few who break the

 7   law rather than preventively suppressing everyone's protected speech because of what a few people

 8   may do afterwards. "The generally accepted way of dealing with unlawful conduct that may be

 9   intertwined with First Amendment activity is to punish it after it occurs ... First Amendment

10   activity may not be banned simply because prior similar activity led to or involved instances of

11   violence." Collins v. Jordan, 110 F.3d 1363, 1371-72 (9th Cir. 1996). Because an unlawful

12   assembly can be declared only for "assemblies which are violent or which pose a clear and present

13   danger of imminent violence," In re Brown, 9 Cal. 3d 612,623 (Cal. 1973), curfews are too

14   authorized only where the state has no other means to prevent actual or imminent mass violence.

15          113.    To satisfy First Amendment requirements, a curfew must both be narrowly tailored

16   and allow for ample alternative channels of communication. A "restriction that meets the ample

17   alternative requirement can fail the narrow tailoring requirement." Matter Utah v. Njord, 774 F.3d

18   1258, 1267--68 (10th Cir. 2014) (citing United States v. Grace, 461 U.S. 171 (1983)). Defendants'

19   curfews fail the narrow tailoring test not only because of their extraordinary geographic scope, but

20   also because the lock-down they order restricts far more speech than necessary to achieve their aim.

21   Defendants may enforce "other laws at [their] disposal that would allow [them] to achieve [their]

22   stated interests," including the criminal laws prohibiting damage to property and, if necessary as a

23   last resort in narrowly defined circumstances, unlawful assembly. Co mite de Jornaleros de

24   Redondo Beach v. City ofRedondo Beach, 657 F .3d 936, 949 (9th Cir. 2011 ). Absent actual or

25   imminent mass violence, "[o]bvious, less burdensome means for achieving the [City's] aims are

26   readily and currently available by employing traditional legal methods." Foti v. City ofMenlo Park,

27   146 F.3d 629, 642--43 (9th Cir. 1998).

28   Ill

                                                          22                        EXHIBIT A             30
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 1          114.    Here, arrest data establishes that the number of acts of property damage is small in

 2   comparison to the amount of nonviolent protest, and the number of acts of violence - by protesters -

 3   is far smaller - if not entirely non-existent. Because "there are a number of feasible, readily

 4   identifiable, and less-restrictive means of addressing" the Defendants' interests, each of

 5   Defendants' curfews are not narrowly tailored to serve those interests. Comite de Jornaleros, 657

 6   F.3d at 950.

 7          115.    The curfew orders are not narrowly tailored, insofar as they suppress far more

 8   speech, assembly, and other protected First Amendment activity than necessary to deal with any

 9   emergency currently in existence. "Banning or postponing legitimate expressive activity because

10   other First Amendment activity regarding the same subject has resulted in violence deprives

11   citizens of their right to demonstrate in a timely and effective fashion." Collins v. Jordan, 110 F.3d

12   1363, 1371-72 (9th Cir. 1996).

13          116.     Based on the foregoing, Defendants' curfew orders violate Plaintiffs' First

14   Amendment rights.

15          117.    Plaintiffs have suffered injuries as a proximate result of these violations of their First

16   Amendment rights.

17        FOURTH CAUSE OF ACTION FOR VIOLATION OF 42 U.S.C. § 1983: FOURTH

18                                              AMENDMENT

19             (By All Plaintiffs Against All Defendants, Including DOES 1 Through 100)

20          118.    Plaintiffs incorporate by this reference each and every allegation contained in the

21   foregoing paragraphs as though fully set forth herein.

22          119.    Defendants' above-described conduct violated Plaintiffs' rights to be free from

23   unreasonable seizures, excessive or arbitrary force, and arrest or detention without reasonable or

24   probable cause under the Fourth Amendment to the United States Constitution. Defendants

25   detained, seized, handcuffed, searched their persons and their personnel property.

26          120.    Defendants used excessive force against peaceful protestors, including Plaintiffs. In

27   particular, Defendants engaged in the indiscriminate use ofless lethal weapons and baton strikes

28   contrary to law. Plaintiffs were shot with rubber-cased bullets, struck with batons, and subjected to

                                                          23                          EXHIBIT A           31
                                              PLAINTIFFS' COMPLAINT FOR DAMAGES
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 1   tear gas, sound cannons and other long range acoustic devices, causing injuries in a manner that

 2   show Defendants applied force unlawfully. Many individuals were struck with rubber-cased bullets

 3   in the face, head, shoulder and neck areas. Similarly, individuals suffered baton strikes meant not to

 4   compel people to retreat, but to injure and punish them on site. Plaintiffs had guns loaded, cocked

 5   and aimed at them in close range with no way of knowing whether Defendants had loaded "non-

 6   lethal" ammunition. Plaintiffs incurred severe injuries as a result of Defendants' excessive force.

 7          121.    Additionally, Defendants detained Plaintiffs for hours, tightly zip-tied their hands

 8   behind their backs, loaded them into transport buses, and drove them miles from their initial place

 9   of police contact. Plaintiffs were left on these transport buses for hours with music such as "Africa"

10   by Toto and "LA Is Burning" by Bad Religion playing in loud volume, and air conditioning

11   blasting to create heightened levels of distress. Plaintiffs were further denied food, water,

12   bathrooms, assistance with fallen masks, and assistance to loosen the zip-tie bindings causing

13   bruising and numbness.

14          122.    Some Plaintiffs allege being physically assaulted by Defendants during their

15   detainments, including incidents wherein officers and/or agents of Defendants punched Plaintiffs in

16   their pubic region.

17          123.    Plaintiffs have suffered injuries as a proximate result of these violations of their

18   Fourth Amendment rights.

19        FIFTH CAUSE OF ACTION FOR VIOLATION OF 42 U.S.C. § 1983: FIFTH AND

20                                    FOURTEENTH AMENDMENTS

21             (By All Plaintiffs Against All Defendants, Including DOES 1 Through 100)

22          124.    Plaintiffs incorporate by this reference each and every allegation contained in the

23   foregoing paragraphs as though fully set forth herein.

24          125.    Plaintiffs had a liberty interest created by California Penal Code§ 853.6 to be cited

25   and released for a misdemeanor absent specific information and individualized suspicion that they

26   would immediately repeat the allegedly unlawful conduct if promptly released and not subjected to

27   a prolonged detention. Defendants' conduct deprived Plaintiffs of liberty without due process of

28   law under the Fourteenth Amendment to the United States Constitution. Based on their perceived

                                                          24                         EXHIBIT A             32
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 1   association with the protests against the continued government-sanctioned killings of Black and

 2   Brown men and women at the hands of law enforcement, Plaintiffs were uniformly denied the

 3   mandatory "liberty" interested codified at California Penal Code§ 853.6 when they were denied

 4   individualized assessment and held in custody for hours at a time.

 5          126.    Additionally, The Curfew Orders violate the Constitution's protection for the

 6   freedom of movement. "Citizens have a fundamental right of free movement, 'historically part of

 7   the amenities oflife as we have known them."' Nunez by Nunez v. City a/San Diego, 114 F.3d 935,

 8   944 (9th Cir. 1997) (citations omitted); United States v. Wheeler, 254 U.S. 281,293 (1920). State

 9   restrictions on this right must both serve a compelling state interest and be narrowly tailored to

10   accomplish that objective. Nunez, 114 F.3d at 946.

11          127.    The Curfew Orders' restrictions on movement are not narrowly tailored. They apply

12   far more broadly than necessary to address any emergency. They also apply to many entirely

13   innocuous types of movement, including outdoor recreation, travel for groceries and family

14   caregiving obligations, and various others. The Constitution does not permit such a draconian

15   deprivation of liberty under these circumstances. Cf Nunez, 114 F .3d at 948 (striking down curfew

16   order because "it does not provide exceptions for many legitimate activities."). Therefore,

17   Defendants' curfew orders violate Plaintiffs' constitutional rights.

18          128.    Moreover, Both the Fifth and Fourteenth Amendments prohibit deprivations of

19   liberty without "due process." The most essential element of due process is notice. Due process

20   requires that notice "be of such nature as reasonably to convey the required information." Mullane

21   v. Central Hanover Bank& Trust Co., 339 U.S. 306,314 (1950).

22          129.    Due process requires that officers seeking to enforce curfews provide notice to the

23   general population of their intent to do so. See e.g., In re Juan C., 28 Cal. App. 4th 1093, 1097 (Cal.

24   Ct. App.1994) (order permitted arrest only of"such persons as do not obey this curfew after due

25   notice, oral or written, has been given to said persons").

26          130.    Additionally, Defendants on several occasions issued warning of the impending

27   curfews on the same day the curfew was to take place. Moreover, on at least one occasion, this

28   warning was issued after the curfew was intended to take effect. As such, Plaintiffs had no

                                                          25                         EXHIBIT A            33
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 1   notice of their potential violation of the illegal curfew until after the curfew had already taken

 2   effect. In addition, the notice of curfew was released on twitter and other social media platforms, as

 3   well as facilitated seemingly through the Amber Alert system, in a manner that did not ensure all

 4   people, including Plaintiffs, were privy to the information of their potential curfew violations. Not

 5   all people have social media. Not all people have smart phones.

 6           131.   Based on the foregoing, Defendants' curfew orders violate Plaintiffs' Due Process

 7   rights in violation of the Fifth and Fourteenth Amendments to the United States Constitution.

 8           132.   Plaintiffs have suffered injuries as a proximate result of these violations of their Fifth

 9   and Fourteenth Amendment rights.

10                   SIXTH CAUSE OF ACTION FOR ASSAULT AND BATTERY

11             (By All Plaintiffs Against All Defendants, Including DOES 1 Through 100)

12           133.   Plaintiffs incorporate by this reference each and every allegation contained in the

13   foregoing paragraphs as though fully set forth herein.

14           134.   Defendants, and each of them, including DOES 1 through 100, inclusive, did

15   commit the assault upon Plaintiffs causing Plaintiffs to have an imminent apprehension of further

16   harmful and offensive contact and great fear and apprehension of immediate bodily harm and

17   threats of deadly force, including without limitation, Defendants engagement in the indiscriminate

18   use of less lethal weapons and baton strikes contrary to law. Plaintiffs were shot with rubber-cased

19   bullets, struck with batons, and subjected to tear gas, sound cannons and other long range acoustic

20   devices, causing injuries in a manner that show Defendants applied force unlawfully. Many

21   individuals were struck with rubber-cased bullets in the face, head, shoulder and neck areas.

22   Similarly, individuals suffered baton strikes meant not to compel people to retreat, but to injure and

23   punish them on site. Plaintiffs had guns loaded, cocked and aimed at them in close range with no

24   way of knowing whether Defendants had loaded "non-lethal" ammunition. Plaintiffs incurred

25   severe injuries as a result of Defendants' excessive force. Upon information and belief, all of the

26   aforementioned was done in an attempt to terrorize and frighten Plaintiffs and/or instigate a

27   physical altercation.

28   Ill

                                                          26                          EXHIBIT A            34
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 1             135.   Defendants, and each of them, including DOES 1 through 100, inclusive, did

 2   commit the battery upon Plaintiffs by physically attacking and subjecting Plaintiffs to harmful and

 3   offensive contact through Defendants' violent and excessive force described herein, as well as the

 4   placement of tightly bound zip-tights around Plaintiffs' wrists.

 5             136.   In doing the wrongful acts alleged herein, Defendants did so with the intent to make

 6   contact with Plaintiffs' person and/or to place Plaintiffs in apprehension of a harmful or offensive

 7   contact, including threats of deadly force.

 8             137.   At all relevant times, DOES 1 through 100, as well as officers of Defendants LAPD,

 9   LA Sheriff, SMPD, and BHPD, were acting within the course and scope of his employment and/or

10   agency with Defendants CITY OF LOS ANGELES, COUNTY OF LOS ANGELES, CITY OF

11   SANTA MONICA, AND CITY OF BEYERLY HILLS. Defendant officers remained uniformed as

12   and used their actual and/or apparent authority during the time Plaintiffs were subjected to the

13   aforementioned assault and battery. Moreover, the weapons used by Defendants' officers to injure

14   Plaintiffs and to deprive them unlawfully and unreasonably of their freedom of movement were

15   used by Defendants and provided to them as law enforcement officers for all Defendants.

16             138.   Plaintiffs did not at any time consent to any of the wrongful conduct of Defendants,

17   and each of them.

18             139.   Plaintiffs were harmed and offended by Defendants' wrongful conduct described

19   herein.

20             140.   As a direct, legal and proximate cause of the aforementioned conduct of Defendants,

21   and each of them, including Does 1 through 100, Inclusive, Plaintiffs suffered injuries to their

22   physical health, strength and activity, and shock and injury to their nervous system, all of which

23   said injuries have caused, and continue to cause great physical, mental, and nervous pain and

24   suffering. Plaintiffs are further informed and believed, and thereon allege that said injuries may or

25   will result in permanent disability, all to general damages in an amount which will be stated

26   according to proof, but are in an amount that exceeds the minimum jurisdiction of this Court.

27             141.   As a direct, proximate, and legal cause of the wrongful conduct of Defendants, and

28   each of them, including DOES 1 through 100, inclusive, as alleged herein, Plaintiffs have been

                                                          27                        EXHIBIT A             35
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 1   required to and did employ physicians, surgeons, and other medical personnel to treat and care for

 2   injuries sustained as a result of Defendants' conduct, and incurred additional medical expenses for

 3   hospital bills and other incidental medical expenses. Said damages are in a sum the exact amounts

 4   of which are not yet known to Plaintiffs, but which amounts will be proved at the time of trial.

 5           142.   As a further direct and proximate result of the acts and omissions of Defendants, and

 6 each of them, including DOES 1 through 100, inclusive, as alleged herein, Plaintiffs have suffered

 7 and will continue to suffer lost future earnings and income, and/or a diminution of her future earning

 8 capacity. Said damages are in a sum the exact amounts of which are not yet known to Plaintiff, but

 9 which amounts will be proved at the time of trial.

10                  SEVENTH CAUSE OF ACTION FOR FALSE IMPRISONMENT

11              (By All Plaintiffs Against All Defendants, Including DOES 1 Through 100)

12           143.   Plaintiffs incorporate by this reference each and every allegation contained in the

13   foregoing paragraphs as though fully set forth herein.

14           144.   As alleged herein, Plaintiffs were unlawfully and unreasonably deprived of their

15   freedom of movement by use of threats of force, threats of deadly force, physical force, menace,

16   and unreasonable duress by Defendants, and each of them, including DOES 1 through 100,

17   inclusive, within the course and scope of their employment with Defendants.

18           145.   Individual officers and/or agents of Defendants, individually and as an agent and/or

19   employees of Defendants, unlawfully and unreasonably deprived Plaintiffs of their freedom of

20   movement when Plaintiffs were rendered unable to leave as a result of physical injuries imposed by

21   Defendants, as well as the binding of Plaintiffs' arms with zip-ties and loading onto transport buses

22   for hours at a time.

23           146.   At all relevant times, DOES 1 through 100, as well as officers of Defendants LAPD,

24   LA Sheriff, SMPD, and BHPD, were acting within the course and scope of his employment and/or

25   agency with Defendants CITY OF LOS ANGELES, COUNTY OF LOS ANGELES, CITY OF

26   SANTA MONICA, AND CITY OF BEYERLY HILLS. Defendant officers remained uniformed as

27   and used their actual and/or apparent authority during the time Plaintiffs were subjected to the

28   aforementioned false imprisonment. Moreover, the weapons used by Defendants' officers to injure

                                                         28                         EXHIBIT A             36
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 1   Plaintiffs and to deprive them unlawfully and unreasonably of their freedom of movement were

 2   used by Defendants and provided to them as law enforcement officers for all Defendants.

 3          147.    Individual officers and/or agents of Defendants, individually and as an agent and/or

 4   employees of Defendants, and each of them, including DOES 1 through 100, inclusive, also

 5   intentionally summoned, reported, and/or pointed out to law enforcement officers, knowingly,

 6   falsely and without cause, that Plaintiffs' actions prior to being beaten and/or detained by

 7   Defendants were in violation of law when they were not.

 8          148.    As a result of Defendants' wrongful conduct, Plaintiffs were unlawfully and

 9   unreasonably handcuffed, detained, confined, falsely imprisoned, and deprived of their liberty

10   against their will because law enforcement personnel were knowingly and falsely informed by

11   Defendants that Plaintiffs' conduct had been unlawful when, in fact, Defendants knew Plaintiffs'

12   conduct, at all relevant times, had been lawful.

13          149.    At no time did Plaintiffs consent to their unlawful and unreasonable detention,

14   confinement, false imprisonment, and/or deprivation of their liberty which was instigated,

15   perpetuated, and carried out by Defendants.

16          150.    As a direct, legal and proximate cause of the aforementioned conduct of Defendants,

17   and each of them, including Does 1 through 100, Inclusive, Plaintiffs suffered injuries to their

18   physical health, strength and activity, and shock and injury to their nervous system, all of which

19   said injuries have caused, and continue to cause great physical, mental, and nervous pain and

20   suffering. Plaintiffs are further informed and believed, and thereon allege that said injuries may or

21   will result in permanent disability, all to general damages in an amount which will be stated

22   according to proof, but are in an amount that exceeds the minimum jurisdiction of this Court.

23          151.    As a direct, proximate, and legal cause of the wrongful conduct of Defendants, and

24   each of them, including DOES 1 through 100, inclusive, as alleged herein, Plaintiffs have been

25   required to and did employ physicians, surgeons, and other medical personnel to treat and care for

26   injuries sustained as a result of Defendants' conduct, and incurred additional medical expenses for

27   hospital bills and other incidental medical expenses. Said damages are in a sum the exact amounts

28   of which are not yet known to Plaintiffs, but which amounts will be proved at the time of trial.

                                                         29                         EXHIBIT A             37
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 1          152.    As a further direct and proximate result of the acts and omissions of Defendants, and

 2 each of them, including DOES 1 through 100, inclusive, as alleged herein, Plaintiffs have suffered

 3 and will continue to suffer lost future earnings and income, and/or a diminution of her future earning

 4 capacity. Said damages are in a sum the exact amounts of which are not yet known to Plaintiff, but

 5 which amounts will be proved at the time of trial.

 6                         EIGHTH CAUSE OF ACTION FOR NEGLIGENCE

 7             (By All Plaintiffs Against All Defendants, Including DOES 1 Through 100)

 8          153.    Plaintiffs incorporate by this reference each and every allegation contained in the

 9   foregoing paragraphs as though fully set forth herein.

10          154.    Defendants, and each of them, had a duty to exercise ordinary or reasonable care in

11   activities from which harm might reasonably be anticipated.

12          155.    Defendants, and each of them, failed to use ordinary or reasonable care in their

13   interactions with Plaintiffs and negligently caused Plaintiffs to be assaulted, battered, and falsely

14   imprisoned as alleged herein.

15          156.    At all relevant times, DOES 1 through 100, as well as officers of Defendants LAPD,

16   LA Sheriff, SMPD, and BHPD, were acting within the course and scope of his employment and/or

17   agency with Defendants CITY OF LOS ANGELES, COUNTY OF LOS ANGELES, CITY OF

18   SANTA MONICA, AND CITY OF BEYERLY HILLS. Defendant officers remained uniformed as

19   and used their actual and/or apparent authority during the time Plaintiffs were subjected to the

20   aforementioned assault, battery, and unlawful deprivation of their freedom of movement. Moreover,

21   the weapons used by Defendants' officers to injure Plaintiffs and to deprive them unlawfully and

22   unreasonably of their freedom of movement were used by Defendants and provided to them as law

23   enforcement officers for all Defendants.

24          157.    Defendants, and each of them, including DOES 1 through 100, inclusive, failed to

25   use reasonable care in the hiring, supervision, and retention of Defendants law enforcement officers

26   as armed police. Defendants knew or should have known of the violent animus harbored by

27   Defendants' law enforcement officers against people with differing political ideologies, as well as

28   differing sex, gender, race, color, religion, national origin, and/or ancestry from their own.

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 1           158.   As a direct, legal and proximate cause of the aforementioned conduct of Defendants,

 2   and each of them, including Does 1 through 100, Inclusive, Plaintiffs suffered injuries to their

 3   physical health, strength and activity, and shock and injury to their nervous system, all of which

 4   said injuries have caused, and continue to cause great physical, mental, and nervous pain and

 5   suffering. Plaintiffs are further informed and believed, and thereon allege that said injuries may or

 6   will result in permanent disability, all to general damages in an amount which will be stated

 7   according to proof, but are in an amount that exceeds the minimum jurisdiction of this Court.

 8           159.   As a direct, proximate, and legal cause of the wrongful conduct of Defendants, and

 9   each of them, including DOES 1 through 100, inclusive, as alleged herein, Plaintiffs have been

10   required to and did employ physicians, surgeons, and other medical personnel to treat and care for

11   injuries sustained as a result of Defendants' conduct, and incurred additional medical expenses for

12   hospital bills and other incidental medical expenses. Said damages are in a sum the exact amounts

13   of which are not yet known to Plaintiffs, but which amounts will be proved at the time of trial.

14           160.   As a further direct and proximate result of the acts and omissions of Defendants, and

15 each of them, including DOES 1 through 100, inclusive, as alleged herein, Plaintiffs have suffered

16 and will continue to suffer lost future earnings and income, and/or a diminution of her future earning

17 capacity. Said damages are in a sum the exact amounts of which are not yet known to Plaintiff, but

18 which amounts will be proved at the time of trial.

19          NINTH CAUSE OF ACTION FOR INTENTIONAL INFLICTION OF EMOTIONAL

20                                                  DISTRESS

21             (By All Plaintiffs Against All Defendants, Including DOES 1 Through 100)

22           161.   Plaintiffs incorporate by this reference each and every allegation contained in the

23   foregoing paragraphs as though fully set forth herein.

24           162.   The conduct of Defendants, and each of them, including DOES 1 through 100,

25   Inclusive, was extreme and outrageous.

26           163.   A reasonable person would not expect or tolerate the assault, battery, false

27   imprisonment, and abuse of Plaintiffs by Defendants, nor Defendants' knowledge and callous

28   indifference thereof. Despite appearing for the protest of excessive force and wrongful murders of

                                                          31                        EXHIBIT A             39
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 1   black and brown people at the hands of police, Plaintiffs had great trust, faith and confidence in

 2   Defendants, which, by virtue of Defendants' wrongful conduct, turned to fear. Plaintiffs never

 3   anticipated the use of excessive force through, without limitation, rubber-cased bullets, tear gas,

 4   sound cannons and other long range acoustic devices, bean bag pellets, and batons.

 5          164.    A reasonable person would not expect or tolerate Defendants' conduct in response to

 6   Plaintiffs' exercise of their freedom of speech to voice opposition to the murder of unarmed black

 7   and brown people. A reasonable person would not expect or tolerate the use of excessive force

 8   to silence opposition to excessive force. Plaintiffs had great trust, faith and confidence in

 9   Defendants, which, by virtue of Defendants' wrongful conduct, turned to fear.

10          165.    A reasonable person would not expect or tolerate the Defendants and their agents to

11   be incapable of supervising and/or stopping participants and members of Defendants from

12   committing the wrongful acts alleged herein. Plaintiffs had great trust, faith and confidence in

13   Defendants, which, by virtue of Defendants' wrongful conduct, turned to fear.

14          166.    Defendants' conduct described herein was intentional and malicious and done for the

15   purpose of causing, or with the substantial certainty that such conduct would cause, the Plaintiff to

16   suffer humiliation, mental anguish, and emotional and physical distress.

17          167.    As a direct and proximate result of the conduct of Defendants, individually, jointly,

18   and/or severally, Plaintiffs sustained severe emotional distress and physical pain, emotional

19   anguish, fear, anxiety, humiliation, embarrassment, and other physical and emotional injuries,

20   damages (both economic and noneconomic), and permanent disability, in the past, present, and

21   future, for which this claim is made. The injuries suffered by Plaintiffs are substantial, continuing,

22   and permanent.

23   TENTH CAUSE OF ACTION FOR VIOLATIONS OF THE RALPH CIVIL RIGHTS ACT

24                                             (Civ. Code § 51.7)

25             (By All Plaintiffs Against All Defendants, Including DOES 1 Through 100)

26          168.    Plaintiffs incorporate by reference each and every allegation contained in the

27   foregoing paragraphs as though fully set forth herein.

28          169.    At all times mentioned herein above, Plaintiffs were the subject of harassment,

                                                          32                         EXHIBIT A             40
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 1   discrimination, threats of violence, unlawful incarceration, false imprisonment, intimidation by

 2   threat of violence, and violence itself by Defendants LAPD, LA Sheriff, SMPD, and BHPD,

 3   individually and as agents and/or employees of Defendants CITY OF LOS ANGELES, COUNTY

 4   OF LOS ANGELES, CITY OF SANTA MONICA, AND CITY OF BEVERLY HILLS, to

 5   Plaintiffs' actual and/or perceived sex, gender, race, color, religion, national origin, political

 6   affiliation, and/or ancestry.

 7           170.    Based on information and belief, Defendants utilized slurs to many Plaintiffs,

 8   including, without limitation, "Bitch," "Slut," "Spicy," "Faggot," and other derogatory terms used

 9   with the intention to harass and discriminate on the basis of Plaintiffs' actual and/or perceived sex,

10   gender, race, color, religion, national origin, political affiliation, and/or ancestry.

11           171.    Based on information and belief, Defendants unleashed acts of excessive force

12   including the use of rubber-case bullets, bean bag projectiles, batons, tear gas, sound cannons and

13   other long range acoustic devices against Plaintiffs, in an effort to threaten and effect violence

14   against Plaintiffs on the basis of Plaintiffs' actual and/or perceived sex, gender, race, color, religion,

15   national origin, political affiliation, and/or ancestry.

16           172.    The aforementioned acts constitute a violation of the Ralphs Civil Rights Act, as

17   well as the California Constitution and various other state legislative enactments.

18           173.    At all relevant times, DOES 1 through 100, as well as officers of Defendants LAPD,

19   LA Sheriff, SMPD, and BHPD, were acting within the course and scope of his employment and/or

20   agency with Defendants CITY OF LOS ANGELES, COUNTY OF LOS ANGELES, CITY OF

21   SANTA MONICA, AND CITY OF BEVERLY HILLS. Defendant officers remained uniformed as

22   and used their actual and/or apparent authority during the time Plaintiffs were subject of

23   harassment, discrimination, threats of violence, intimidation by threat of violence, and violence

24   itself by Defendants based on Plaintiffs' actual and/or perceived sex, gender, race, color, religion,

25   national origin, political affiliation, and/or ancestry. Moreover, the weapons used by Defendants'

26   officers to injure Plaintiffs and to deprive them unlawfully and unreasonably of their freedom of

27   movement were used by Defendants and provided to them as law enforcement officers for all

28   Defendants.

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 1           174.   Moreover, Defendants LAPD, LA Sheriff, SMPD, BHPD, CITY OF LOS

 2   ANGELES, COUNTY OF LOS ANGELES, CITY OF SANTA MONICA, AND CITY OF

 3   BEVERLY HILLS aided and/or incited the individual Defendant officers in making Plaintiffs the

 4   subject of harassment, discrimination, threats of violence, intimidation by threat of violence itself

 5   by Defendants by, without limitation, willfully and knowingly hiring the Defendant officers as law

 6   enforcement and providing them with weapons and/or the opportunity to use their weapons within

 7   the course and scope of their employment despite knowing that many Defendant officers harbored

 8   violent animus against people with differing political ideologies, as well as differing sex, gender,

 9   race, color, religion, national origin, and/or ancestry from their own.

10           175.   As a result of Defendants, and each of their wrongful and illegal conduct as alleged

11   herein, Plaintiffs are entitled to reasonable attorneys' fees and costs of said suit and a civil penalty

12   of $25,000.00 as provided in Cal. Civil Code§ 52.

13           176.   Furthermore, a result of Defendants, and each of their wrongful and illegal conduct

14   as alleged herein, Plaintiffs are entitled to a civil penalty and exemplary damages as provided in

15   Cal. Civil Code § 52.

16           177.   As a direct, proximate, and legal cause of the wrongful conduct of Defendants, and

17   each of them, including DOES 1 through 100, inclusive, Plaintiffs suffered foreseeable, past and

18   future, physical and emotional injuries, general, special and incidental damages in an amount

19   according to proof by in excess of the jurisdictional limit of this case.

20           178.   As a direct, proximate, and legal cause of the wrongful conduct of Defendants, and

21   each of them, including DOES 1 through 100, inclusive, as alleged herein, Plaintiffs have been

22   required to and did employ physicians, surgeons, and other medical personnel to treat and care for

23   injuries sustained as a result of Defendants' conduct, and incurred additional medical expenses for

24   hospital bills and other incidental medical expenses. Said damages are in a sum the exact amounts

25   of which are not yet known to Plaintiffs, but which amounts will be proved at the time of trial.

26           179.   As a further direct and proximate result of the acts and omissions of Defendants, and

27   each of them, including DOES 1 through 100, inclusive, as alleged herein, Plaintiffs have suffered

28   and will continue to suffer lost future earnings and income, and/or a diminution of her future

                                                          34                           EXHIBIT A            42
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 1   earning capacity. Said damages are in a sum the exact amounts of which are not yet known to

 2   Plaintiff, but which amounts will be proved at the time of trial.

 3                                       PRAYER FOR DAMAGES

 4          WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them, as

 5   follows:

 6       1. For compensatory damages under federal and state law, in an amount to be proven at trial;

 7      2. For past and future economic damages, in an amount to be proven at trial;

 8      3. For past and future non-economic damages, in an amount to be proven at trial;

 9      4. For civil penalties of $25,000.00, as allowed for violations of the The Ralph Civil Rights

10          Act, The Bane Civil Rights Act, and The Unruh Act;

11      5. For treble actual damages, which in no case shall be less than $4,000.00, as allowed for

12          violations of the The Ralph Civil Rights Act, The Bane Civil Rights Act, and The Unruh

13          Act;

14      6. For pre-judgment and post-judgment interest, as permitted by law;

15      7. For costs of suit and attorneys' fees incurred herein; and

16      8. For such other and further relief as this Court deems just.

17    DATED: February 26, 2021
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19
20                                                                               ,Esq.
                                                                            inger, Esq.
21                                                                          mandez, Esq.
22                                                                         r Plaintiffs

23

24

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                                                          35                               EXHIBIT A    43
                                              PLAINTIFFS' COMPLAINT FOR DAMAGES
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 1                                     DEMAND FOR JURY TRIAL

 2           Plaintiff Plaintiffs ALEJANDRA GARCIA, an Individual; CHANCE BROWN, an

 3   Individual; STEPHEN THOMPSON, an Individual; ERICK HERRERA, an Individual; KARISSA

 4   PEREZ, an Individual; DIANA SALAZAR, an Individual; CHRISTOPHER PEARL, an

 5   Individual; BRANDON GAVIRIA, an Individual; AMANDA FLORES, an Individual; OSVALDO

 6   PEREZ, an Individual; MARK ESCALANTE, an Individual; KIMBERLY QUITZON, an

 7   Individual; KATHERINE GERBASI, an Individual; BRENDON SMITH, an Individual;

 8   DANYELLE LEAH SIMS, an Individual; KEVIN JESUS RUIZ, an Individual; ELVER

 9   HERNANDEZ, an Individual; PARIS WASHINGTON, an Individual; JACQUELINE WUNG, an

10   Individual; ERIC WILSON, an Individual; AARON WALKER MATIS, an Individual;

11   LACRAMIOARA MUNTEAN, an Individual; KENT VILLA, an Individual; JASMIN RINCON,

12   an Individual; ELIZABETH TOOLEY, an Individual; ARIANA WILLINGHAM, an Individual;

13   ALICIA REYNA, an Individual; ARIA SONORA SILVA-ESPINOSA, an Individual; TIMOTHY

14   FULTON, an Individual; SAMANTHA DE LEON, an Individual; MORGAN FANGUE, an

15   Individual; LESLYE ALANIZ, an Individual; KATHERINE GRAY, an Individual; KATELYNN

16   RHOADS, an Individual; GRACE EVELYN BOWLAND, an Individual; ENRICO MAGHELLI,

17   an Individual; DAVID CARMICHAEL, an Individual; and ALYCIA LOURIM, an Individual,

18   hereby demand a trial by jury on all causes of action.

19

20    DATED: February 26, 2021                                                      &ROWLEY
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23                                                                    en , Esq.
                                                         Matthew J. Singer, Esq.
24                                                       Carlos A. emandez, Esq.
25                                                       Attorneys for Plaintiffs

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                                                         36                         EXHIBIT A   44
                                             PLAINTIFFS' COMPLAINT FOR DAMAGES
